                   THE THIRTEENTH COURT OF APPEALS

                                    13-15-00571-CV


                               Nydia De La Garza
                                       v.
                  The Home Care Team Inc., and Maria Patricia Solis


                                    On appeal from the
                     357th District Court of Cameron County, Texas
                           Trial Cause No. 2014-DCL-1584-E


                                      JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes the judgment of the trial court should be reversed and the cause

remanded to the trial court. The Court orders the judgment of the trial court

REVERSED and REMANDED for further proceedings consistent with its opinion. Costs

of the appeal are adjudged against appellee.

      We further order this decision certified below for observance.

September 1, 2016
